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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

 VALERIA DIMITRYUK, on behalf of herself and
 all others similarly situated,

       Plaintiff,                                    Case No. 20-60851-CIV-SINGHAL

               v.

 UNIVERSITY OF MIAMI,

       Defendant.
 _________________________________________

 MICHAEL WEISS, individually and on behalf of
 all others similarly situated,

       Plaintiff,                                    Case No. 20-22207-CIV-SINGHAL

               v.

 UNIVERSITY OF MIAMI,

       Defendant.
 _________________________________________

 ADELAIDE DIXON, individually and on behalf of
 all others similarly situated,

       Plaintiff,                                    Case No. 20-22594-CIV-SINGHAL

               v.

 UNIVERSITY OF MIAMI,

       Defendant.


     PLAINTIFFS’ COMBINED RESPONSE TO THE COURT’S ORDER TO SHOW
         CAUSE REGARDING CONSOLIDATION OF RELATED MATTERS




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                                     I.      INTRODUCTION

         On July 10, 2020, the Court requested that Plaintiffs in four related actions pending

  before this Court show cause by July 24, 2020 “why these actions should not be consolidated.”

  Show Cause Order at 1 (emphasis added). Plaintiffs Valeria Dimitryuk (“Dimitryuk”), Michael

  Weiss (“Weiss”), and Adelaide Dixon (“Dixon”) (collectively referred to herein as “Plaintiffs”),

  having met and conferred with each other, jointly submit that all pending cases against

  Defendant University of Miami should be consolidated under Rule 42 because the four class

  actions involve common parties and similar issues of law and fact. First, University of Miami is

  the only named Defendant in all four cases. Second, the putative class representatives in each of

  the Class Actions seek to represent a similar class of students or other individuals paying

  Defendant tuition and fees for the Spring 2020 semester. Third, the Class Actions arise out of

  similar circumstances—Defendant’s alleged failure to issue certain refunds to students for

  transitioning to remote teaching and learning along with failing to provide certain access,

  services, benefits and programs paid for due to the COVID-19 pandemic. Finally, Plaintiffs in

  the Class Actions overlap in that they have similar legal claims, each alleging state-law breach of

  contract, unjust enrichment/restitution based on quasi-contract, and conversion. To permit such

  similar actions to proceed separately will defeat the benefits to be gained by consolidation and

  streamlining the litigation before the Court. For the reasons below, and for good cause, Plaintiffs

  Dimitryuk, Weiss, and Dixon, respectfully request that the Court consolidate all related cases

  against University of Miami.

                                      II.     BACKGROUND

         As the Court correctly identified in its Order to Show Cause, four actions (collectively,

  the “Class Actions”) are pending before the undersigned:

                 1. Dimitryuk v. University of Miami, Case No. 20-60851-CIV-SINGHAL

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                     (filed April 26, 2020);

                 2. Weiss v. University of Miami, Case No. 20-22207-CIV-SINGHAL
                    (filed May 27, 2020);

                 3. Gold v. University of Miami, Case No. 20-22316-CIV-SINGHAL
                    (filed June 3, 2020); and

                 4. Dixon v. University of Miami, Case No. 20-22549-CIV-SINGHAL
                    (filed April 8, 2020 in D.S.C. and transferred to S.D. Fla. on June
                    23, 2020).

  These cases all arise out of a single event, University of Miami’s Spring 2020 decision to

  transition in-person classes to online-only classes in connection with the COVID-19 pandemic,

  along with failing to provide certain access, services, benefits and programs paid for by students.

  And as depicted in the below table, each case seeks recoveries for tuition and fee payers through

  overlapping state law causes of action.

                                               TABLE A

   Case                      Proposed Class                          Causes of Action

   Dimitryuk                 “Plaintiff seeks to represent a class   1.   Breach of Contract
                             defined as all people who paid          2.   Unjust Enrichment
                             University of Miami Spring              3.   Conversion
                             Semester 2020 tuition and/or fees       4.   Money Had and
                             for in-person educational services           Received
                             that the University of Miami failed
                             to provide, and whose tuition and
                             fees have not been refunded (the
                             ‘Class’).” Dimitryuk Am. Compl.,
                             ¶ 39.

   Weiss                     “All people paying Defendant, in     1. Breach of Contract
                             whole or in part, personally and/or 2. Unjust Enrichment
                             on behalf of others, for Spring      3. Conversion
                             2020 tuition and fees for in-person
                             instruction and use of campus
                             facilities, but were denied use of
                             and/or access to in-person
                             instruction and/or campus facilities
                             by Defendant.” Weiss Compl. ¶
                             58.

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                                                TABLE A

   Case                       Proposed Class                          Causes of Action

   Dixon                      “All students who are enrolled at  1. Breach of Contract
                              Defendant’s institution for the    2. Unjust Enrichment
                              spring semester of the 2020
                              academic year, and who have paid
                              tuition, mandatory fees, or
                              voluntary fees for privileges or
                              services that Defendant’s
                              institution has failed to provide,
                              and whose tuition and fees have
                              not been refunded.” Dixon Compl.,
                              ¶ 28.

   Gold                       “The Class is defined as all            1. Breach of Contract
                              individuals who paid tuition and        2. Conversion
                              fees to the University of Miami to      3. Unjust Enrichment
                              receive in-person educational
                              services, experiences, and
                              opportunities during the Spring
                              Semester 2020. (‘Class’).” Gold
                              Compl. ¶ 41.


  As further detailed below, the four cases readily meet all requirements for consolidation under

  Fed. R. Civ. P. 42.

                                         III.     ARGUMENT

           Under the Federal Rules of Civil Procedure, courts may consolidate two or more related

  actions, where, as here, the actions involve at least one common question of law or fact. Fed. R.

  Civ. P. 42(a) (“If actions before the court involve a common question of law or fact, the court

  may: (1) join for hearing or trial any or all matters at issue in the actions; (2) consolidate the

  actions; or (3) issue any other orders to avoid unnecessary cost or delay.”). “Rule 42 codifies the

  trial court’s inherent managerial power ‘to control the disposition of the causes on its docket with

  economy of time and effort for itself, for counsel, and for litigants.’” Doe v. Sch. Bd. of Miami-

  Dade Cty., No. 18-25430-CIV, 2020 WL 1465739, at *1 (S.D. Fla. Mar. 25, 2020) (quoting
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  Landis v. North American Co., 299 U.S. 248, 254 (1936)). Furthermore, in considering whether

  to exercising its discretion, the Court must determine:

                 whether the specific risks of prejudice and possible confusion [are]
                 overborne by the risk of inconsistent adjudications of common
                 factual and legal issues, the burden on parties, witnesses and
                 available judicial resources posed by multiple lawsuits, the length
                 of time required to conclude multiple suits as against a single one,
                 and the relative expense to all concerned of the single-trial,
                 multiple-trial alternatives.

  Hendrix v. Raybestos-Manhattan, Inc., 776 F.2d 1492, 1495 (11th Cir. 1985) (citation omitted).

  “District court judges in the Eleventh Circuit ‘have been urged to make good use of Rule 42(a) . .

  . in order to expedite the trial and eliminate unnecessary repetition and confusion.’” Family

  Dining, Inc. v. Burger King Corp., No. 10-21964-CIV, 2010 WL 11506103, at *1 (S.D. Fla. July

  16, 2010) (quoting Young v. City of Augusta, 59 F.3d 1160, 1168 (11th Cir. 1995)).

         A.      The Class Actions involve common parties.

         First, the threshold question of “common parties” is easily answered in the affirmative.

  All four lawsuits name University of Miami as the sole Defendant. In addition, while the putative

  class representatives are different, the proposed classes in the Class Actions cover the same

  people, i.e., Defendant’s students or other people who paid Defendant tuition and/or fees during

  the Spring 2020 semester. See supra Table A.

         B.      The Class Actions allege common legal claims and facts.

         Besides alleging common parties, the four lawsuits assert common facts and legal claims.

  As is clear on the face of each complaint, the claims arise out of the same set of operative facts:

  the Defendant’s decision to transition to remote teaching and learning in response to the COVID-

  19 pandemic during the Spring 2020 academic semester, along with its failure to provide certain

  access, services, benefits and programs paid for by students. All cases raise similar allegations



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  regarding alleged damages arising out of Defendant’s transition to remote learning and the

  closure of campus facilities over the same time period. In addition, all four cases assert claims

  for breach of contract and unjust enrichment and three of the four cases assert conversion claims,

  confirming the existence of common legal claims and facts.

         Faced with such overlapping claims, courts reviewing questions of consolidation

  routinely order consolidation, often with Defendant’s consent or request. See Exhibit A

  (collecting orders entered by district courts consolidating related college refund class actions).

  See also Young v. Frontier Airlines, Inc., No. 20-CV-01153-PAB-KLM, 2020 WL 4193506, at

  *1 (D. Colo. July 21, 2020) (consolidating six cases asserting “a putative class of persons in the

  United States who purchased airline tickets from Frontier Airlines, whose flights were canceled

  by Frontier Airlines ‘as a result of the COVID-19 pandemic,’ and who did not receive a refund

  for said canceled flights from Frontier Airlines”). Similarly, when faced with competing cases

  involving identical or overlapping facts and issues, courts in this district do not hesitate to

  consolidate related cases. See, e.g., United Union of Roofers, Waterproofers & Allied Workers

  Local Union No. 8 v. Ocwen Fin. Corp., No. 14-81064-CIV-WPD, 2014 WL 11350272, at *1

  (S.D. Fla. Nov. 6, 2014) (consolidating three securities class actions that “make almost identical

  allegations against the same defendants over the same class period”); Carrera v. UPS Supply

  Chain Sols., Inc., No. 10-60263-CIV, 2011 WL 13112070, at *3 (S.D. Fla. Nov. 4, 2011)

  (consolidating two employment class actions that “involve identical legal issues including

  whether SCS’s classification of certain of its drivers as ‘independent contractors’ exempts it

  from paying overtime and minimum wage pursuant to the FLSA”); Smith v. Constr. Servs. &

  Consultants, Inc., No. 05-14387-CIV, 2006 WL 8433926, at *1 (S.D. Fla. Feb. 27, 2006)

  (consolidating two actions that “present virtually identical claims for relief based upon a similar



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  course of conduct by the same Defendants”).

  C.      Consolidation will not result in prejudice or confusion but rather will be more
          convenient to the parties, promote judicial economy and save resources.

          Consolidation of these substantively identical cases will promote convenience to the

  parties and judicial economy, and will save time, effort, and expense. See Carrera, 2011 WL

  13112070, at *3 (consolidating two class actions where “consolidation of the two cases will

  greatly conserve judicial resources, reduce the time for resolving both cases, and significantly

  reduce the expense inherent in proceeding with two separate actions”); Smith, 2006 WL

  8433926, at *1 (recognizing that “[s]ince the complaints present similar issues of law and fact,

  consolidation of these actions promotes judicial economy by streamlining and simplifying pre-

  trial and discovery issues”).

          Consolidation will also avoid the confusion, delay, and potential prejudice that could

  result if all cases proceed separately. The Class Actions are still in their early stages, all cases

  were filed relatively recently and they are all pending before this Court. Defendant has not yet

  filed answers, the Court has not substantively ruled on any motions to dismiss in any case and

  discovery has not yet commenced. But even at this early stage, it is clear that the cases will

  require many of the same documents and witnesses given the overlapping complaints, which

  further favors consolidation. See Christopher Farr Cloth Ltd. v. WHM LLC, No. 10-60146-CIV,

  2010 WL 11505865, at *2 (S.D. Fla. Dec. 13, 2010) (consolidating two similar actions where

  “[t]he actions will undoubtedly involve many of the same witnesses and certain identical

  documentary evidence”). Gainor v. Bryan Holdings, LLC, No. 06-21748-CIV, 2009 WL

  10668297, at *2 (S.D. Fla. Sept. 2, 2009) (consolidating two actions where the defendant in a

  consolidated action “will now only have to appear once rather than twice” and where

  “consolidating the two cases promotes judicial efficiency because the same witnesses would


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  likely be used in both trials and the Court would not be faced with redundant proceedings”);

  Instituto De Prevision Militar v. Lehman Bros., Inc., No. 05-21169-CIV, 2006 WL 8433248, at

  *2 (S.D. Fla. Jan. 19, 2006) (consolidating cases where “[c]onsolidation would streamline

  discovery by eliminating duplication of time and effort by all parties, avoid unnecessary

  inconvenience to the parties and witnesses as well as contain litigation costs”). Ultimately,

  litigating the same issues raised by the Class Actions “in a single proceeding is more sensible

  than to do so piecemeal in multiple actions.” Family Dining, 2010 WL 11506103, at *3. The

  facts and circumstances here warrant consolidation.

                                       IV.     CONCLUSION

         Because good cause exists to support the Court’s exercise of discretion in favor of

  consolidation, Plaintiffs Dimitryuk, Weiss, and Dixon, respectfully request that the Court

  consolidate the related cases against University of Miami and grant them all such other relief that

  the Court deems necessary and appropriate.




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  Dated: July 24, 2020                        Respectfully submitted,



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